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           IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

            Plaintiff,
vs.                                                Case No.: 1:21-cr- 459-CRC-1
                                                   Division: Criminal
ANDREW W. GRISWOLD,

          Defendant.
_______________________________________/

                           NOTICE OF APPEARANCE

       The undersigned attorney, J. Christopher Klotz, files this Notice of Appearance
on behalf of defendant, ANDREW W. GRISWOLD (“defendant”) in the above-
styled cause.

                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been furnished to all attorneys

of record in the above captioned case by service through the ECF-Case Filing Portal

on October 6, 2021.

                                            /s/ J. Christopher Klotz
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